                      Case 4:07-cr-00086-JM Document 810 Filed 08/03/11 Page 1 of 4
'%AO 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1
                                                                                                                EASTEr~'j DiSTRICT ARKANSAS

                                      UNITED STATES DISTRICT COURT
                                                          Eastern District of Arkansas                  JAMES W. fV1c '
                                                                                                        By:
          UNITED STATES OF AMERICA                                      Judgment in a Criminal Case~-t11H:f--\f-+~A~:-=--
                             v.                                          (For Revocation of Probation or Supervised Release)
     SYLVESTER KIRKWOOD alk/a Poochie

                                                                        Case No. 4:0 7cr00086-20 JMM
                                                                        USM No. 24639-009
                                                                         Lisa Peters
                                                                                                 Defendant's Attorney
THE DEFENDANT:
rv' admitted guilt to violation of condition(s)         _G_e_n_e_ra_1                    of the term of supervision.
D was found in violation of condition(s)                                            after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                             Violation Ended
General                           Failure to refrain from committing another crime                           04/10/2011




       The defendant is sentenced as provided in pages 2 through             4      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes III
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 4241                      08/03/2011
                                                                                            Date of Imposition of Judgment
Defendant's Year of Birth:          1959

City and State of Defendant's Residence:                                                          Signature of Judge
Helena, Arkansas
                                                                         James M. Moody                                US District Judge
                                                                                                Name and Title of Judge

                                                                         08/03/2011
                                                                                                         Date
                         Case 4:07-cr-00086-JM Document 810 Filed 08/03/11 Page 2 of 4
  AD 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

                                                                                                   Judgment - Page   _=2_ of      4
  DEFENDANT: SYLVESTER KIRKWOOD alkla Poochie
  CASE NUMBER: 4:07cr00086-20 JMM

                                                                  IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
FIVE (5) MONTHS




       rI The court makes the following recommendations to the Bureau of Prisons:
The defendant shall participate in whatever substance abuse treatment and anger management programs that are available.
The defendant shall serve his term of imprisonment in Forrest City, Arkansas.


       D The defendant is remanded to the custody of the United States Marshal.

       D   The defendant shall surrender to the United States Marshal for this district:
           D    at    _ _ _ _ _ _ _ _ _ [] a.m.                     D     p.m.    on
           D    as notified by the United States Marshal.

       rI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ~ before 2 p.m. on _0_9_1_06_1_20_1_1                           _
           D    as notified by the United States Marshal.
           D    as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                      to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                                 By
                                                                                            DEPUTY UNITED STATES MARSHAL
                        Case 4:07-cr-00086-JM Document 810 Filed 08/03/11 Page 3 of 4
  AD 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release

                                                                                                     Judgment-Page      3    of          4
  DEFENDANT: SYLVESTER KIRKWOOD a/kJa Poochie
  CASE NUMBER: 4:07cr00086-20 ..IMM
                                    SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of :
SIX (6) MONTHS



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
 from the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
 tests thereafter as determined by the court.
 o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 t/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
 o      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 o      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
 o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

 1)         the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)         the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
            five days of each month;
 3)         the. defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            offIcer;
 4)         the defendant shall support his or her dependents and meet other family responsibilities;
 5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
 6)         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)         the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted perffilssion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; ana
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics ana shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notificatIOn requirement.
                     Case 4:07-cr-00086-JM Document 810 Filed 08/03/11 Page 4 of 4
 AO 245D   (Rev. 12/07) Judgment in a Criminal Case for Revocations
           Sheet 3C - Supervised Release

                                                                                      Judgment-Page   _4_ of       4
 DEFENDANT: SYLVESTER KIRKWOOD alkla Poochie
 CASE NUMBER: 4:07cr00086-20 ~IMM

                                            SPECIAL CONDITIONS OF SUPERVISION

1) The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
treatment program which may include testing, outpatient counseling, and residential treatment. Further, the defendant
shall abstain from the use of alcohol throughout the course of treatment.

2) The defendant shall participate in anger management programs.

3) The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
treatment program which may include testing, outpatient counseling, and residential treatment. Further, the defendant
shall abstain from the use of alcohol throughout the course of treatment.
